                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



                                                       )                  Case No. 22-11068 (JTD)
In re:                                                 )
                                                       )                  (Jointly Administered)
                                    1
FTX TRADING LTD., et al.,                              )
                                                       )                  Chapter 11
                                                       )
                           Debtors.                    )                  Re: Docket Nos. 2239, 2240
                                                       )

            RESERVATION OF RIGHTS OF THE U.S. SECURITIES AND
     EXCHANGE COMMISSION TO (A) DEBTORS’ MOTION FOR ENTRY OF AN
    ORDER AUTHORIZING AND APPROVING (I) GUIDELINES FOR THE SALE OR
    TRANSFER OF CERTAIN DIGITAL ASSETS, (II) THE SALE OR TRANSFER OF
     SUCH DIGITAL ASSETS IN ACCORDANCE WITH SUCH GUIDELINES FREE
     AND CLEAR OF ANY LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES,
        (III) THE DEBTORS’ ENTRY INTO, AND PERFORMANCE UNDER,
            POSTPETITION HEDGING ARRANGEMENTS, INCLUDING
           GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE
               EXPENSE CLAIMS IN CONNECTION THEREWITH AND
         (IV) THE DEBTORS TO STAKE CERTAIN DIGITAL ASSETS; AND
              (B) DEBTORS’ MOTION FOR AN ORDER AUTHORIZING
             FTX TRADING LTD. TO ENTER INTO, AND PERFORM ITS
       OBLIGATIONS UNDER, THE INVESTMENT SERVICES AGREEMENT

         The U.S. Securities and Exchange Commission (“SEC”) files this reservation of rights

with respect to (A) Debtors’ Motion For Entry Of An Order Authorizing And Approving (I)

Guidelines For The Sale Or Transfer Of Certain Digital Assets, (II) The Sale Or Transfer Of

Such Digital Assets In Accordance With Such Guidelines Free And Clear Of Any Liens, Claims,

Interests And Encumbrances, (III) The Debtors’ Entry Into, And Performance Under,

Postpetition Hedging Arrangements, Including Granting Liens And Superpriority Administrative



1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.


                                                           1
Expense Claims In Connection Therewith And (IV) The Debtors To Stake Certain Digital Assets

[Docket No. 2239] (the “Guidelines Motion”); and (B) Debtors’ Motion For An Order

Authorizing FTX Trading Ltd. To Enter Into, And Perform Its Obligations Under, The Investment

Services Agreement [Docket No. 2240] (the “Galaxy Motion” and, together with the Guidelines

Motion, the “Motions”).2

                                               BACKGROUND

           1.      The SEC is the federal agency responsible for regulating the U.S. securities

markets, protecting investors, and enforcing the federal securities laws. On December 13, 2022

and December 21, 2022, the SEC filed complaints against the founders of FTX Trading Ltd.

(“FTX”) and its former insiders, alleging they engaged in a scheme to defraud equity investors in

FTX, at the same time that they were also defrauding the platform’s customers.3

           2.      On August 23, 2023, the Debtors filed the Guidelines Motion, which provides

procedures for the Debtors to monetize “Digital Assets,” which include “coins, tokens and other

digital assets.” Guidelines Motion, at 2.

           3.      On August 24, 2023, the Debtors filed the Galaxy Motion. The Debtors seek to

use Galaxy Digital Capital Management LP as an investment advisor to facilitate their

monetization program under the Guidelines Motion. Galaxy Motion, at 4; Guidelines Motion, at

3.

           4.      The Debtors’ portfolio contains crypto asset securities which the Debtors may

seek to monetize pursuant to the Guidelines Motion.


2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Disclosure Statement
Motion.

3
    SEC v. Bankman-Fried, No. 1:22-cv-10501 (S.D.N.Y.); SEC v. Ellison, No. 1:22-cv-10794 (S.D.N.Y.).




                                                        2
                                  RESERVATION OF RIGHTS

       5.        The SEC staff has reviewed the Motions and does not object to the terms thereof.

In not objecting, the SEC is not opining as to the legality, under the federal securities laws, of the

transactions outlined in the Motions, and reserves its rights to challenge transactions involving

crypto assets.




Dated: Washington, DC
       September 6, 2023

                                       UNITED STATES SECURITIES AND
                                       EXCHANGE COMMISSION

                                       By: /s/ Therese A. Scheuer
                                          Therese A. Scheuer
                                          Senior Trial Counsel
                                          100 F. Street, NE
                                          Washington, DC 20549
                                          Phone: (202) 551-6029
                                          Fax: (202) 772-9317
                                          scheuert@sec.gov

                                           William M. Uptegrove
                                           Senior Trial Counsel
                                           Atlanta Regional Office
                                           950 East Paces Ferry Road, N.E., Suite 900
                                           Atlanta, GA 30326
                                           Phone: (404) 842-5765
                                           UptegroveW@sec.gov

Of Counsel: Alistaire Bambach




                                                  3
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of September, 2023, a true and correct copy of the

foregoing Reservation of Rights was furnished to all ECF Participants via the CM/ECF system.

                                           /s/ Therese A. Scheuer
                                           Therese A. Scheuer




                                                 4
